 1    Lawrence R. Ream, WSBA #18159                                       The Honorable Brian D. Lynch
      E-Mail: lream@schwabe.com                                                              Chapter 7
 2    Schwabe Williamson & Wyatt P.C.                                                      EX PARTE
      U.S. Bank Centre
 3    1420 5th Avenue, Suite 3400
      Seattle, WA 98101-4010
 4
      Attorneys for David Stapleton, Chapter 7 Trustee
 5
                                   UNITED STATES BANKRUPTCY COURT
 6                                 WESTERN DISTRICT OF WASHINGTON

 7

 8    In Re                                                Case No. 18-141342-BDL

 9              PUGLIA ENGINEERING, INC.,                  EX PARTE
                                                           APPLICATION FOR ORDER
10                                   Debtor.               APPROVING EMPLOYMENT OF
                                                           SCHWABE, WILLIAMSON & WYATT
11                                                         P.C. AS COUNSEL FOR THE TRUSTEE

12             COMES NOW David Stapleton, the Chapter 7 Trustee of the Debtor, Puglia

13    Engineering, Inc. (the “Trustee”) and respectfully applies for entry of an order approving

14    the employment of Schwabe, Williamson & Wyatt, P.C. (the “Firm”) as counsel to the

15    Trustee. In support thereof and as grounds therefore, the Trustee states as follows:

16             1.       On April 14, 2018 the Puglia Engineering, Inc. (the “Petition Date”)

17    commenced this bankruptcy case by filing a voluntary petition for relief under Chapter 11

18    of the United States Bankruptcy Code, 11 U.S.C. §§ 101 et. seq. (the “Code”).

19             2.       On March 20, 2019, Mr. Stapleton was appointed the Chapter 11 Trustee in

20    this matter.

21             3.       Pursuant to the motion of Mr. Stapleton, when serving as the Chapter 11

22    Trustee, the Court entered an order converting the case from Chapter 11 to Chapter 7 on

23    March 28, 2019. Mr. Stapleton was appointed as the Chapter 7 Trustee on March 29, 2019.

24             4.       Following the conversion and his appointment, Mr. Stapleton was required

25    to perform several weeks of urgent work related to the conversion, including negotiations

26    amongst numerous parties in interest and obtaining Court approval authorizing continued
                                                                           SCHWABE, WILLIAMSON & WYATT, P.C.
      APPLICATION FOR ORDER APPROVING                                                Attorneys at Law
                                                                                     U.S. Bank Centre
      EMPLOYMENT OF SCHWABE, WILLIAMSON &                                      1420 5th Avenue, Suite 3400
                                                                                 Seattle, WA 98101-4010
      WYATT P.C.- 1                                                              Telephone 206.622.1711
      PDX\124122\183598\LRE\25083280.1



     Case 18-41324-BDL             Doc 684     Filed 04/30/19   Ent. 04/30/19 15:47:36         Pg. 1 of 4
 1    limited operations to complete the M.V. Steilacoom II vessel for Pierce County.

 2    Additionally, the existence of hundreds of interested parties required Schwabe Williamson

 3    & Wyatt to determine which of those hundreds of parties is a client on unrelated matters

 4    and then obtain authority to disclose that relationship. The urgency of these matters and the

 5    delay inherent in the number of parties in interest that Schwabe Williamson & Wyatt had to

 6    assess and clear for disclosure, is the basis for the delay in seeking to employ Trustee’s

 7    counsel.

 8             5.       The Trustee desires to employ the law firm Schwabe Williamson & Wyatt

 9    P.C. as his counsel, nunc pro tunc to March 20, 2019.

10             6.       The Firm is composed of attorneys duly qualified to practice before this

11    Court.

12             7.       The Trustee selected the Firm because the attorneys therein have

13    considerable experience in matters of this nature and the Trustee believes the Firm is well

14    qualified to represent him in this matter.

15             8.       The Firm is not a pre-petition creditor of the Debtor.

16             9.       The Firm has neither been paid nor promised any retainer.

17             10.      In exchange for its services, the Firm has agreed to be paid from assets of

18    the Bankruptcy Estate after notice and a hearing and pending approval of this Court.

19             11.      The Firm has agreed to render services in the general representation of the

20    Trustee and to perform necessary related legal services. The Trustee and the Firm have

21    entered into an engagement letter setting forth the terms and conditions of the Firm’s

22    employment as counsel to the Trustee in the event this Court approves said employment

23    (the “Engagement Letter”). A copy of the Engagement Letter and the referenced Standard

24    Terms of Engagement are attached to Mr. Ream’s declaration.

25             12.      The Declaration of Lawrence R. Ream filed contemporaneously with this

26    application states that the Firm’s conflicts department conducted a search of the Firm’s
                                                                                 SCHWABE, WILLIAMSON & WYATT, P.C.
      APPLICATION FOR ORDER APPROVING                                                      Attorneys at Law
                                                                                           U.S. Bank Centre
      EMPLOYMENT OF SCHWABE, WILLIAMSON &                                            1420 5th Avenue, Suite 3400
                                                                                       Seattle, WA 98101-4010
      WYATT P.C.- 2                                                                    Telephone 206.622.1711
      PDX\124122\183598\LRE\25083280.1



     Case 18-41324-BDL             Doc 684   Filed 04/30/19     Ent. 04/30/19 15:47:36               Pg. 2 of 4
 1    client database. The search revealed no actual conflicts based on the creditor and interest

 2    holder information provided to the Firm. The report did reveal that the Firm represents a

 3    number of parties in interest in connection with other unrelated matters. The Firm has not

 4    been contacted to represent any of those other clients regarding the Puglia matter. In the

 5    event that any actual conflict were to appear in the future, the Trustee has agreed to hire

 6    separate conflicts counsel to prevent any actual conflict from occurring and further

 7    allowing the Firm to remain counsel to the Trustee, without breach of any duty to the

 8    Trustee, creditors, clients or any other party-in-interest. Based on the conflict search and

 9    the foregoing, the Firm believes and advises the Court that there are no actual conflicts and

10    the Firm is qualified to represent the Trustee in this case.

11             13.      The Declaration of Lawrence R. Ream confirms that in accordance with

12    Local Bankruptcy Rule 2014-1(a), he has read Local Bankruptcy Rule 2016-1.

13             14.      The Firm received no advance fee deposit.

14             15.      The Trustee has agreed that the Firm should be paid all professional

15    compensation allowed by the Bankruptcy Court.

16             16.      The application was provided to the UST on April 29, 2019 in accordance

17    with Local Bankruptcy Rule 2014-1(b) and the UST has confirmed approval of the

18    application.

19             17.      This application is made pursuant to Code section 327-331, Rules 2014 and

20    2016 of the Federal Rules of Bankruptcy Procedure, and Local Bankruptcy Rule 2014-1.

21             18.      A proposed order is attached hereto as Exhibit A.

22             WHEREFORE, the Trustee respectfully requests that this Court enter an Order:

23             A.       Approving the Trustee’s employment of the Firm nunc pro tunc

24             from March 20, 2019; and

25             B.       Approving the terms and conditions of the Engagement Letter.

26
                                                                            SCHWABE, WILLIAMSON & WYATT, P.C.
      APPLICATION FOR ORDER APPROVING                                                 Attorneys at Law
                                                                                      U.S. Bank Centre
      EMPLOYMENT OF SCHWABE, WILLIAMSON &                                       1420 5th Avenue, Suite 3400
                                                                                  Seattle, WA 98101-4010
      WYATT P.C.- 3                                                               Telephone 206.622.1711
      PDX\124122\183598\LRE\25083280.1



     Case 18-41324-BDL             Doc 684   Filed 04/30/19    Ent. 04/30/19 15:47:36           Pg. 3 of 4
 1             Dated this 30th day of April, 2019.

 2                                                   DAVID STAPLETON, CHAPTER 7
                                                     TRUSTEE
 3

 4
                                                     /s/ David Stapleton
 5                                                   David Stapleton, Chapter 7 Trustee
 6

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26
                                                                          SCHWABE, WILLIAMSON & WYATT, P.C.
      APPLICATION FOR ORDER APPROVING                                               Attorneys at Law
                                                                                    U.S. Bank Centre
      EMPLOYMENT OF SCHWABE, WILLIAMSON &                                     1420 5th Avenue, Suite 3400
                                                                                Seattle, WA 98101-4010
      WYATT P.C.- 4                                                             Telephone 206.622.1711
      PDX\124122\183598\LRE\25083280.1



     Case 18-41324-BDL             Doc 684   Filed 04/30/19   Ent. 04/30/19 15:47:36          Pg. 4 of 4
